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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               HOT SPRINGS DIVISION

LARRY LOVELL and
MELISSA LOVELL                                                                    PLAINTIFFS

vs.                             CASE NO. 6:20-CV-06074-SOH

JAMES ALBERT WARD III,
PILOT TRAVEL CENTERS LLC, and
JOHN DOE                                                                        DEFENDANTS

                         Joint Motion To Amend the Scheduling Order

       COME NOW the Plaintiffs, Larry Lovell and Melissa Lovell, by and through their

attorneys, Andrew M. Taylor and Tasha C. Taylor of Taylor & Taylor Law Firm, P.A., and

Defendants, James Albert Ward III and Pilot Travel Centers LLC, by and through their attorneys,

J. Carter Fairley and Adam F. Franks of Barber Law Firm PLLC, collectively, the “Parties”, and

for their Joint Motion To Amend the Scheduling Order, state:

       1.      Rule 16 of the Federal Rules of Civil Procedure provides that “[a] schedule may

be modified only for good cause shown and with the Judge’s consent.” Fed. R. Civ. P. 16(b)(4).

       2.      The Parties jointly request a modification of the scheduling order, and state the

following as good cause.

       3.      One of the issues in this case relates to whether the injuries claimed by Plaintiff

Larry Lovell are related to the underlying accident.

       4.      As a result, the parties need to take depositions of several doctors, most of whom

have limited availability.

       5.      In addition, because Plaintiff Larry Lovell lives in Texas, three of the proposed

depositions will need to take place in the Dallas, Texas, and Longview, Texas areas of Texas.



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       6.      Due to the limited availability of these experts and the travel required, the Parties

are requesting a modification to the discovery deadline. The current discovery deadline is

October 29, 2021. The parties are requesting that the discovery deadline be extended to

November 29, 2021.

       7.      In addition, based on this extension, the parties are requesting an extension of the

dispositive motion deadline. The dispositive motion deadline is currently November 30, 2021.

The parties are requesting that this deadline be extended to December 21, 2021.

       8.      The Parties are requesting these extensions in good faith, and submit that the

reasons set forth herein constitute good cause for the extensions.

       WHEREFORE, the Parties respectfully request that this Court modify the scheduling

order such that the discovery deadline will be extended to November 29, 2021 and the

dispositive motion deadline will be extended to December 21, 2021.

                                              Respectfully submitted,

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                                 Respectfully submitted,
                                 Larry Lovell, and Melissa Lovell,
                                 Plaintiffs

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